                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )   No. 3:11-00012-3
v.                                             )   Judge Sharp
                                               )
BRIAN VANCE                                    )
                                               )


                                          ORDER



       Due to a calendar conflict, the plea hearing scheduled for Thursday, May 23, 2013, is

hereby rescheduled for Friday, May 31, 2013, at 1:30 p.m.

       IT IS SO ORDERED.

                                                   ________________________________
                                                   KEVIN H. SHARP
                                                   UNITED STATES DISTRICT JUDGE




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